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                     EXHIBIT B
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                                               1    C. DENNIS LOOMIS (SBN: 082359)
                                                       E-Mail: CDLoomis@Buchalter.com
                                               2    THOMAS J. SPEISS, III (SBN: 200949)
                                               3       E-Mail: TSpeiss@Buchalter.com
                                                    BUCHALTER, A PROFESSIONAL CORPORATION
                                               4    1000 Wilshire Boulevard, Suite 1500
                                                    Los Angeles, California 90017-2457
                                               5    Tel.: (310) 490-3373
                                               6    Fax: (213) 896-0400

                                               7    Attorneys for Plaintiffs,
                                                    MICHAEL ANDREW ROBINSON,
                                               8    an Individual resident of Florida,
                                                    and GRABBA LEAF, LLC,
                                               9    a Florida limited liability company

                                       10                                        UNITED STATES DISTRICT COURT
                                       11                                       CENTRAL DISTRICT OF CALIFORNIA
                                       12                                             WESTERN DIVISION
                                       13
                                          MICHAEL ANDREW ROBINSON,                                CASE NO.
                                       14 an individual; GRABBA LEAF, LLC,
                                          a Florida limited liability company,                    FILED UNDER SEAL PURSUANT
                                       15                                                         TO 15 U.S.C. § 1116(d)(8)
                                                       Plaintiffs,
                                       16                                                         Case No. 2:21-cv-06689-RGK-JC
                                                vs.
                                       17                                                         FIRST AMENDED COMPLAINT
                                          BEST PRICE DISTRIBUTORS, LLC,                           FOR:
                                       18 a California limited liability company,
                                          doing business as WESTERN                               1. COPYRIGHT INFRINGEMENT
                                       19 WHOLESALE and as QUICK                                     UNDER 17 U.S.C., §§ 101 et seq.
                                          TOBACCO WHOLESALE; KHALED                               1. TRADEMARK
                                       20 M. AHMED, an individual; SANDRA                            COUNTERFEITING AND
                                          S. CERVANTES, aka SANDRA                                   INFRINGEMENT UNDER
                                       21 AHMED, an individual; and DOES 1-                          15 U.S.C. § 1114;
                                          10;
                                       22                                                         2. TRADEMARK INFRINGEMENT
                                                       Defendants.                                   AND UNFAIR COMPETITION
                                       23                                                            UNDER 15 U.S.C. § 1125(a);

                                       24                                                         3. COMMON LAW TRADEMARK
                                                                                                     INFRINGEMENT AND
                                       25                                                            UNFAIR COMPETITION;AND,

                                       26                                                         4. COPYRIGHT INFRINGEMENT
                                                                                                     UNDER 17 U.S.C., §§ 101 et seq.
                                       27
                                                                                                  5. VICARIOUS AND/OR
                                       28                                                            CONTRIBUTORY COPYRIGHT
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                                               1                                                      INFRINGEMENT; AND
                                               2                                                    6. 4.VIOLATION OF CALIFORNIA
                                                                                                       BUSINESS & PROFESSIONS
                                               3                                                       CODE § 17200
                                               4                                                    JURY TRIAL DEMANDED
                                               5
                                                           Plaintiffs Michael Andrew Robinson, an individual (“Robinson”), and
                                               6
                                                   Grabba Leaf, LLC, a Florida limited liability company (collectively, “Grabba Leaf”)
                                               7
                                                   hereby state their complaint against defendants Best Price Distributors, LLC, a
                                               8
                                                   California limited liability company, doing business as Western Wholesale and as
                                               9
                                                   Quick Tobacco Wholesale (hereinafter, “Western Wholesale”), Khaled M. Ahmed,
                                       10
                                                   an individual (“Ahmed”), Sandra S. Cervantes, aka Sandra Ahmed, an individual
                                       11
                                                   (“Cervantes”), and Does 1 through 10, as follows:
                                       12
                                                                                       INTRODUCTION
                                       13
                                                           1.       Grabba Leaf is the leading seller in the United States of top quality
                                       14
                                                   natural cigar wraps and whole leaf tobacco, under the well-known brand name
                                       15
                                                   GRABBA LEAF. Western Wholesale, Ahmed and Cervantes are selling and
                                       16
                                                   offering for sale counterfeit, inferior quality, chemically contaminated cigar wraps
                                       17
                                                   and whole leaf tobacco products in styles and packaging that duplicates and
                                       18
                                                   infringes upon Grabba Leaf’s registered U.S. trademarks and copyright.
                                       19
                                                   Accordingly, in this action, Grabba Leaf seeks an ex parte emergency temporary
                                       20
                                                   restraining and seizure order, as well as preliminary and permanent injunctive relief
                                       21
                                                   and money damages (including, but not limited to, statutory damages), attorneys’
                                       22
                                                   fees, interest, and costs.
                                       23
                                                                                JURISDICTION AND VENUE
                                       24
                                                           2.       This is an action for statutory trademark counterfeiting, trademark
                                       25
                                                   infringement, false designation of origin, and unfair competition in violation of the
                                       26
                                                   Lanham Act, 15 U.S.C. § 1051, et seq.; common law trademark infringement,
                                       27
                                                   copyright infringement and unfair competition; and in violation of California
                                       28
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                                               1 Business and Professions of the Lanham Act, 15 U.S.C. §§ 1051, et seq.; the
                                               2 Copyright Act of 1976, 17 U.S.C., §§ 101, et seq.; the common law of the state of
                                               3 California; and unfair competition in violation of Cal. Bus. & Prof. Code Section
                                               4 17200.
                                               5           3.       This Court has subject matter jurisdiction over this action pursuant to
                                               6 15 U.S.C. §§ 1119 and 1121, and pursuant to 28 U.S.C. §§ 1331, 1338, and 1367,
                                               7 because this action presents questions arising under the copyright and trademark
                                               8 laws of the United States to which Congress has granted concurrent or exclusive
                                               9 subject matter jurisdiction to the federal courts. This Court has supplemental
                                       10 jurisdiction under 28 U.S.C. § 1367 over Grabba Leaf’s related claims under state
                                       11 law.
                                       12                  4.       On information and belief, this Court has personal jurisdiction over
                                       13 Defendants Western Wholesale, Ahmed and Cervantes based upon their infringing
                                       14 acts of supplying the Counterfeit Products for sale in Los Angeles County,
                                       15 California.
                                       16                  5.       Venue is proper in this judicial district pursuant to
                                       17 28 U.S.C. §§ 1391(b), (c), (d), and 1400(b) because Western Wholesale, Ahmed
                                       18 and Cervantes do business in and have committed acts of infringement in California
                                       19 and in this judicial district.
                                       20                                                THE PARTIES
                                       21                  6.       Mr. Robinson is an individual residing in the state of Florida, and is
                                       22 the managing member of Grabba Leaf.
                                       23                  7.       Grabba Leaf is a Florida limited liability company having a principal
                                       24 place of business at 2987 Center Point Circle, Suite 3, Pompano Beach, Florida
                                       25 33064.
                                       26                  8.       Upon information and belief, Western Wholesale is a limited liability
                                       27 company organized under the laws of the state of California, engaged in the
                                       28 business of wholesale distribution of tobacco and tobacco related products with a
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                                               1 principal place of business located at 8856 S. Western Ave, Los Angeles, California
                                               2 90047.
                                               3           9.       Upon information and belief, Ahmed is an individual residing and
                                               4 doing business in Los Angeles, California, is an owner and/or managing member of
                                               5 Western Wholesale, and has directed, authorized, participated in and/or knowingly
                                               6 benefitted from the acts of infringement, unfair competition, unfair business
                                               7 practices and other wrongful and unlawful acts alleged herein.
                                               8           10.      Upon information and belief, Cervantes is an individual residing and
                                               9 doing business in Los Angeles, California, is an owner and/or managing member
                                       10 of Western Wholesale, and has directed, authorized, participated in and/or
                                       11 knowingly benefitted from the acts of infringement, unfair competition, unfair
                                       12 business practices and other wrongful and unlawful acts alleged herein.
                                       13 (Defendants Western Wholesale, Ahmed and Cervantes will sometimes be referred
                                       14 to collectively hereinafter as the “Western Defendants.”)
                                       15                  11.      Grabba Leaf is unaware of the true names and capacities, whether
                                       16 individual, corporate, associate, or otherwise, of defendants Does 1 through 10,
                                       17 inclusive, or any of them, and therefore sues those defendants, and each of them, by
                                       18 fictitious names. Grabba Leaf will seek leave of court to amend this complaint to
                                       19 allege the true names and capacities of the defendants identified herein as Does 1
                                       20 through 10 when the identities and status of those defendants are ascertained.
                                       21                  12.      Upon information and belief, at all times relevant herein, the Western
                                       22 Defendants and each of the Doe defendants were the agents of each other and, in
                                       23 doing the things alleged herein, each defendant was acting within the course and
                                       24 scope of his, her, or its agency and was subject to and under the supervision of each
                                       25 of his, her, or its co-defendants.
                                       26                                        GENERAL ALLEGATIONS
                                       27                  13.      Since at least as early as 2006, Grabba Leaf has been using
                                       28 GRABBA LEAF as a trademark in connection with marketing and sale of
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                                               1 Grabba Leaf’s tobacco and tobacco related products. Since at least as early as
                                               2 2009, Grabba Leaf has been using the word mark GRABBA LEAF and associated
                                               3 graphic stylized tobacco leaf designs as a trademark in connection with marketing
                                               4 and sale of Grabba Leaf’s tobacco and tobacco related products in commerce as
                                               5 defined by 15 U.S.C. §1051, et seq. Effective as of February 4, 2019, Grabba Leaf
                                               6 secured registration with the U.S. Copyright Office covering the original artwork
                                               7 incorporated in and displayed as part of the GRABBA LEAF logo design that was
                                               8 first published in 2006.
                                               9           14.        Grabba Leaf is the registered owner of the following trademark
                                       10 registrations:
                                       11                        A.      On June 19, 2012, the U.S. Patent and Trademark Office
                                       12              (“USPTO”) issued to Mr. Robinson Trademark Reg. No. 4,160,203 for the
                                       13              word mark GRABBA LEAF and associated Design for use with cigar wraps.
                                       14              (See Ex. 1 for a true and correct copy of the Certificate of Registration for
                                       15              the mark.)
                                       16                        B.      On Jan. 7, 2014, the USPTO issued to Mr. Robinson Trademark
                                       17              Reg. No. 4,461,093 for the word mark GRABBA LEAF and another
                                       18              associated Design for use with cigar wraps. (See Ex. 2 for a true and correct
                                       19              copy of the Certificate of Registration for the mark.)
                                       20                        C.      On Feb. 25, 2014, the USPTO issued to Mr. Robinson
                                       21              Trademark Reg. No. 4,487,117 for the word mark GRABBA LEAF for use
                                       22              with cigar wraps. (See Ex. 3 for a true and correct copy of the Certificate of
                                       23              Registration for the mark; these associated Registrations will be referred to
                                       24              collectively hereinafter as the “GRABBA Marks.”)
                                       25                  15.        Each of the GRABBA Marks registrations is in full force and effect
                                       26 and each has become incontestable.
                                       27                  16.        Grabba Leaf is the owner of U.S. Copyright Registration Number VA2-
                                       28 152-331, entitled “Grabba Leaf,” with an Effective Date of February 4, 2019,
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                                               1 consisting of the original 2-D artwork in the GRABBA LEAF logo (the “Copyrighted
                                               2 Work”). The Copyrighted Work was completed in 2006 and first published in the
                                               3 United States on November 30, 2006. (See Ex. 4 for a true and correct copy of the
                                               4 Certificate of Registration for the Copyrighted Work.)
                                               5           17.      16.Grabba Leaf has invested extensive effort, creativity and expense to
                                               6 develop, design, advertise, market and sell distinctive, superior quality tobacco
                                               7 products marketed and sold under the GRABBA Marks, particularly including
                                               8 whole leaf tobacco labeled and sold as “GRABBA LEAF Whole Leaf” (hereinafter,
                                               9 “Grabba Green”) and “GRABBA LEAF Cigar Wrap” (hereinafter “Grabba Brown”)
                                       10 products. The Grabba Green and Grabba Brown products are packaged for sale to
                                       11 consumers in attractive, readily identifiable packaging displaying the GRABBA
                                       12 Marks and the Copyrighted Work. Through these efforts, Grabba Leaf’s products
                                       13 have become the gold standard in the “Roll Your Own” and “Make Your Own”
                                       14 tobacco products industry.
                                       15                  18.      17.Grabba Leaf’s products sold under the GRABBA Marks are 100
                                       16 percent natural and do not have any additives, chemicals, or preservatives. Grabba
                                       17 Leaf rigorously inspects and selects tobacco for its GRABBA Leaf products from
                                       18 the finest tobacco available, ensuring a smooth smoke from beginning to end.
                                       19                  19.      18.Through these efforts, Grabba Leaf’s products, uniquely identified
                                       20 and associated with the GRABBA Marks , the Copyrighted Work and the
                                       21 associated distinctive packaging, have come to be recognized as the leading and
                                       22 preferred products in their categories. As a result, the GRABBA Marks have
                                       23 acquired and possess widespread, extremely valuable good will among consumers
                                       24 as the source identifier for Grabba Leaf’s industry leading products and as an
                                       25 assurance of reliably pure, fresh, wholesome products.
                                       26                  20.      19.In or about August 2020, Grabba Leaf learned from the owner of a
                                       27 neighborhood market in Los Angeles that she had received numerous complaints
                                       28 from customers who had purchased Grabba Green and Grabba Brown products
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                                               1 from her store that the products were of markedly inferior quality and appeared not
                                               2 to be genuine. The market had purchased these products from Western Wholesale.
                                               3           21.      20.Grabba Leaf invited the store owner to send her remaining
                                               4 inventory of Grabba Green and Grabba Brown products purchased from Western
                                               5 Wholesale to Grabba Leaf to be examined. Grabba Leaf confirmed that each of
                                               6 these products was counterfeit by examining the packaging, which closely
                                               7 duplicated the genuine Grabba Leaf product packaging and were calculated to
                                               8 deceive consumers to believe that they were genuine Grabba Leaf products, but
                                               9 which had minor but visible discrepancies which enabled Grabba Leaf to positively
                                       10 determine that they were counterfeit.
                                       11                  22.      21.From February 2021 through June 2021, Grabba Leaf
                                       12 commissioned private investigators to purchase dozens of Grabba Green and
                                       13 Grabba Brown products from Western Wholesale, on multiple occasions. Each of
                                       14 the purchases were delivered to Grabba Leaf and every one of them was confirmed
                                       15 to be counterfeit.
                                       16                  23.      22.Scientific testing of multiple samples of the tobacco contained in
                                       17 the counterfeit Grabba Green and Grabba Brown packages purchased from Western
                                       18 Wholesale has determined that the tobacco in the counterfeit packaging contain
                                       19 measurable, dangerous levels of pesticides and heavy metals, including arsenic and
                                       20 cadmium, exposing any consumer who smokes or otherwise consumes this tobacco
                                       21 to significant risk to his or her health.
                                       22                  24.      23.Upon information and belief, the Western Defendants are actively
                                       23 and contemporaneously engaged in the widespread sale of counterfeit products that
                                       24 unlawfully duplicate and infringe the trademarks and other exclusive legal rights of
                                       25 multiple other manufacturers and distributors of tobacco related products, including
                                       26 “Bang” vape pen products, “Zig Zag” and “Raw” rolling papers, and “Glow Tray”
                                       27 rolling trays.
                                       28
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                                               1           25.      24.Upon information and belief, the Western Defendants have a
                                               2 substantial volume of counterfeit Grabba Leaf products in the Western Wholesale
                                               3 warehouse. These products, if allowed to enter the stream of commerce and be
                                               4 distributed to consumers, present a significant risk to the health and well-being of
                                               5 such consumers.
                                               6           26.      25.Upon information and belief, Ahmed and Cervantes have been
                                               7 criminally charged and Ahmed has been convicted of crimes including Medicare
                                               8 fraud, and each uses multiple aliases. If the Western Defendants are given advance
                                               9 notice that a court order authorizing the seizure and impoundment of its inventory
                                       10 of counterfeit Grabba Leaf products has been issued, there is a real and present risk
                                       11 that its personnel will remove, conceal, destroy or otherwise dispose of their
                                       12 inventory of counterfeit products before they can be seized and impounded, which
                                       13 dangerous, unhealthful products could then potentially reach consumers.
                                       14                                        FIRST CAUSE OF ACTION
                                       15                     (TRADEMARK COUNTERFEITING AND INFRINGEMENT
                                       16                        UNDER 15 U.S.C. § 1114 AGAINST ALL DEFENDANTS)
                                       17                  27.      Grabba Leaf hereby incorporates by reference and realleges each and
                                       18 every allegation of Paragraph Nos. 1-25, above.
                                       19                  28.      The GRABBA Marks are used in commerce and are valid, protectable
                                       20 trademarks under the Lanham Act.
                                       21                  29.      With actual or constructive notice of Grabba Leaf’s federal registration
                                       22 rights under 15 U.S.C. § 1072, and long after Grabba Leaf commenced use of the
                                       23 GRABBA Marks, the Western Defendants made unauthorized commercial uses in
                                       24 commerce of the GRABBA Marks.
                                       25                  30.      The Western Defendants’ counterfeit use of the GRABBA Marks is
                                       26 likely to cause confusion in the minds of the public, falsely leading the public to
                                       27 believe that counterfeit Grabba Green and Grabba Brown products supplied by the
                                       28 Western Defendants emanate or originate from or are affiliated with, Grabba Leaf
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                                               1 and/or that Grabba Leaf has approved, sponsored or otherwise associated itself with
                                               2 the products sold by the Western Defendants. The Western Defendants’ actions in
                                               3 this regard have at all times been without Grabba Leaf’s authorization or consent.
                                               4           31.      The Western Defendants’ conduct is intended to exploit the goodwill
                                               5 and reputation associated with Grabba Leaf’s registered trademarks and to take a
                                               6 competitive advantage without expenditure of resources, by a strategy of willful
                                               7 infringement.
                                               8           32.      Grabba Leaf has no control over the nature and quality of the goods or
                                               9 services offered by the Western Defendants under the GRABBA Marks, and
                                       10 Grabba Leaf’s reputation and goodwill will be damaged and the value of the
                                       11 GRABBA Marks reduced by The Western Defendants’ continued use of the
                                       12 GRABBA Marks. In particular, but without limitation, the counterfeit products
                                       13 being sold and distributed by the Western Defendants under false designations of
                                       14 the GRABBA Marks are contaminated with pesticides and heavy metals that
                                       15 present significant health risks to purchasers of those products. Because the
                                       16 Western Defendants’ counterfeit use of the GRABBA Marks is likely to cause
                                       17 confusion in the minds of the public, any negative health issues encountered or
                                       18 other defects, objections, or faults found with the Western Defendants’ products or
                                       19 services marketed under the GRABBA Marks will negatively reflect upon and
                                       20 injure the reputation that Grabba Leaf has established for the products and services
                                       21 it offers in connection with the registered GRABBA Marks.
                                       22                  33.      Grabba Leaf has been and will continue to be irreparably harmed by
                                       23 the actions of the Western Defendants unless the Western Defendants are enjoined
                                       24 from continuing to manufacture, supply, sell, offer or deliver counterfeit Grabba
                                       25 Leaf products. Unless enjoined by this Court, the Western Defendants will continue
                                       26 to use the infringing marks and the Copyrighted Work, causing irreparable injury to
                                       27 Grabba Leaf’s business, identity, goodwill and reputation. Grabba Leaf has no
                                       28
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                                               1 adequate remedy at law as monetary damages are inadequate to compensate Grabba
                                               2 Leaf for the injuries caused by the Western Defendants.
                                               3           34.      As a result of the Western Defendants’ infringement of the
                                               4 GRABBA Marks, Grabba Leaf has incurred damages in an amount to be proven at
                                               5 trial.
                                               6           35.      The Western Defendants’ infringement of the GRABBA Marks is
                                               7 deliberate, willful, fraudulent, and without any extenuating circumstances, and
                                               8 constitutes a knowing use of the GRABBA Marks and an exceptional case within
                                               9 the meaning of Lanham Act section 35, 15 U.S.C. § 1117. Grabba Leaf is therefore
                                       10 entitled to recover three times the amount of its actual damages and the attorneys’
                                       11 fees and costs incurred in this action, and prejudgment interest.
                                       12                                       SECOND CAUSE OF ACTION
                                       13          (TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION UNDER
                                       14                            15 U.S.C. § 1125(a) AGAINST ALL DEFENDANTS)
                                       15                  36.      Grabba Leaf hereby incorporates by reference and realleges each and
                                       16 every allegation of Paragraph Nos. 1-25, and 27-31 above.
                                       17                  37.      The GRABBA Marks are used commercially in commerce and are
                                       18 entitled to full protection under the Lanham Act.
                                       19                  38.      By using the GRABBA Marks in connection with counterfeit Grabba
                                       20 Leaf products, the Western Defendants’ conduct constitutes a use in commerce in
                                       21 connection with the Western Defendants’ goods of symbols and devices and
                                       22 constitutes false designations of origin and false or misleading descriptions and
                                       23 representations in violation of 15 U.S.C. § 1125(a).
                                       24                  39.      The Western Defendants’ counterfeit use of the GRABBA Marks is
                                       25 likely to cause confusion in the minds of the public, falsely leading the public to
                                       26 believe that counterfeit Grabba Leaf products supplied by the Western Defendants
                                       27 emanate or originate from, or are affiliated with, Grabba Leaf and/or that Grabba
                                       28 Leaf has approved, sponsored or otherwise associated itself with the products sold
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                                               1 by the Western Defendants. The Western Defendants’ actions in this regard have at
                                               2 all times been without Grabba Leaf’s authorization or consent.
                                               3           40.      Grabba Leaf has been, and will continue to be, irreparably harmed by
                                               4 the actions of the Western Defendants unless the Western Defendants are enjoined
                                               5 from continuing to manufacture, supply, distribute, offer, sell and deliver
                                               6 counterfeit Grabba Leaf products. Unless enjoined by this Court, the Western
                                               7 Defendants will continue to use the infringing marks, causing irreparable injury
                                               8 to Grabba Leaf’s business, identity, goodwill and reputation. Grabba Leaf has no
                                               9 adequate remedy at law as monetary damages are inadequate to compensate
                                       10 Grabba Leaf for the injuries caused by the Western Defendants. Grabba Leaf is
                                       11 entitled to injunctive relief pursuant to 15 U.S.C. § 1116 to enjoin and restrain the
                                       12 Western Defendants from further violation of 15 U.S.C. § 1125(a).
                                       13                  41.      As a result of the Western Defendants’ infringement of the
                                       14 GRABBA Marks, Grabba Leaf has incurred damages in an amount to be proven at
                                       15 trial.
                                       16                  42.      The Western Defendants’ infringement of the GRABBA Marks is
                                       17 deliberate, willful, fraudulent, and without any extenuating circumstances, and
                                       18 constitutes a knowing use of the GRABBA Marks and an exceptional case within
                                       19 the meaning of Lanham Act section 35, 15 U.S.C. § 1117. Grabba Leaf is therefore
                                       20 entitled to recover three times the amount of its actual damages and the attorneys’
                                       21 fees and costs incurred in this action, and prejudgment interest.
                                       22                                        THIRD CAUSE OF ACTION
                                       23                (COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR
                                       24                              COMPETITION AGAINST ALL DEFENDANTS)
                                       25                  43.      Grabba Leaf hereby incorporates by reference and realleges each and
                                       26 every allegation of Paragraph Nos. 1-25, 27-31 and 36-37 above.
                                       27
                                       28
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                                               1           44.      Grabba Leaf has established through prior use in commerce a valid and
                                               2 protectable interest in the GRABBA Marks, and has built and created valuable
                                               3 goodwill in the GRABBA Marks.
                                               4           45.      With full knowledge of the GRABBA Marks, and each of them, the
                                               5 Western Defendants have subsequently and without authorization of any kind from
                                               6 Grabba Leaf used the same and/or similar marks in connection with counterfeit
                                               7 Grabba Leaf products and in connection with the advertising, promotion, and sale
                                               8 of such counterfeit products.
                                               9           46.      With full knowledge of the GRABBA Marks, the Western Defendants
                                       10 have traded, and continues to trade, on the goodwill associated with the GRABBA
                                       11 Marks, and each of them, and to cause confusion or mistake or to deceive
                                       12 consumers and therefore infringe Grabba Leaf’s rights in the GRABBA Marks in
                                       13 violation of common law.
                                       14                  47.      The Western Defendants’ acts have resulted in the “passing off’ of the
                                       15 Western Defendants’ products as those of Grabba Leaf’s, or as somehow related or
                                       16 associated with, or sponsored or endorsed by Grabba Leaf. The Western Defendants’
                                       17 conduct, as alleged here, constitutes trademark infringement and unfair competition
                                       18 under California common law.
                                       19                  48.      Grabba Leaf has no adequate remedy at law and as such is entitled to
                                       20 an injunction restraining the Western Defendants and their agents, employees,
                                       21 officers, alter egos, and all persons acting in concert with them, from engaging in
                                       22 any further such acts in violation of the common law of the State state of California.
                                       23                  49.      The Western Defendants’ acts entitle Grabba Leaf to general and
                                       24 special damages for all of the Western Defendants’ profits derived from their past
                                       25 unlawful conduct to the full extent provided for by the common law of the State
                                       26 state of California.
                                       27
                                       28
          BUCHALTER
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                                               1           50.      The Western Defendants’ wrongful use of the GRABBA Marks is
                                               2 deliberate, willful, and in reckless disregard of Grabba Leaf’s trademark rights,
                                               3 entitling Grabba Leaf to the recovery of punitive damages.
                                               4                                FOURTH CAUSE OF ACTION
                                               5          (COPYRIGHT INFRINGEMENT UNDER 17 U.S.C., §§ 101 et seq.)
                                               6           51.      Grabba Leaf hereby incorporates by reference and realleges each and
                                               7 every allegation of Paragraph Nos. 1-25 above.
                                               8           52.      Grabba Leaf is informed and believes and thereon alleges that
                                               9 Defendants, and each of them, have had open, unlimited and continuous access to
                                       10 the Copyrighted Work covered by Plaintiff’s Copyright Registration (see Ex. 4) as
                                       11 displayed on the Grabba Green and Grabba Brown packages, including, without
                                       12 limitation: (a) through the Western Defendants’ purchase, sale, possession of and
                                       13 other commercial dealings with Plaintiffs’ Grabba Green and Grabba Brown
                                       14 products lawfully manufactured and sold by Plaintiffs to the public; and, (b) through
                                       15 access to illegally distributed copies of the Grabba Green and Grabba Brown
                                       16 products displaying the Copyrighted Work by vendors and/or Doe Defendants.
                                       17                  53.      Plaintiffs are informed and believe and thereon allege that:
                                       18 (a) Defendants have directly, knowingly and willfully copied, reproduced, publicly
                                       19 displayed and otherwise exploited the Copyrighted Work by causing substantially
                                       20 identical artwork to be printed on the packaging of the counterfeit and unauthorized
                                       21 Grabba Green and Grabba Brown products sold and distributed by Defendants,
                                       22 and/or, (b) Defendants have an ongoing business relationship with Doe Defendants;
                                       23 each of whom has supplied to Defendants the counterfeit and unauthorized Grabba
                                       24 Green and Grabba Brown products with artwork printed on the packaging that is
                                       25 substantially identical to the Copyrighted Work and that, with Defendants’
                                       26 knowledge and consent, has been copied and reproduced by the Doe Defendants
                                       27 without any authority or permission of Plaintiffs.
                                       28
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                                               1           54.      Plaintiff is informed and believes and thereon alleges that Defendants,
                                               2 and each of them, by performing, authorizing, participating in, contributing to and
                                               3 knowingly profiting by and accepting the benefits of the actions alleged above, have
                                               4 knowingly, willfully and flagrantly infringed Plaintiffs’ Copyrighted Work,
                                               5 specifically including, but not limited to, by producing, distributing and/or selling
                                               6 counterfeit Grabba Green and Grabba Brown tobacco products in packaging that
                                               7 copies, reproduces, publicly displays and otherwise commercially exploits the
                                               8 Copyrighted Work.
                                               9           55.      As a direct, proximate consequence of Defendants’ acts of copyright
                                       10 infringement, Grabba Leaf has suffered substantial damages, and Defendants have
                                       11 realized substantial unjust profits, in amounts to be established at trial.
                                       12                  56.      Plaintiff is informed and believes and thereon alleges that Defendants’
                                       13 copyright infringement commenced after the effective date of Plaintiffs’ Copyright
                                       14 Registration, entitling Plaintiffs, at their election, to recover statutory damages and
                                       15 attorneys’ fees pursuant to 15 U.S.C. §504.
                                       16                  57.      The acts of copyright infringement by Defendants, and each of them,
                                       17 have been willful, intentional and malicious, which further subjects Defendants, and
                                       18 each of them, to further damages.
                                       19                                        FIFTH CAUSE OF ACTION
                                       20                                   (VICARIOUS AND/OR CONTRIBUTORY
                                       21                                       COPYRIGHT INFRINGEMENT)
                                       22                  58.      Grabba Leaf hereby incorporates by reference and realleges each and
                                       23 every allegation of Paragraph Nos. 1-25 and 52-57 above.
                                       24                  59.      Grabba Leaf is informed and believes and thereon alleges that
                                       25 Defendants knowingly induced, participated in, aided and abetted in and profited
                                       26 from the infringing copying, reproduction, public display and other commercial
                                       27 exploitation of the Copyrighted Work on the packaging of counterfeit Grabba
                                       28 Green and Grabba Brown tobacco products.
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                                               1           60.      Grabba Leaf is informed and believes and thereon alleges that
                                               2 Defendants, and each of them, are vicariously liable for the infringement alleged
                                               3 herein because they had the right and ability to supervise the infringing conduct and
                                               4 because they had a direct financial interest in the infringing conduct.
                                               5           61.      By reason of the Defendants’ acts of contributory and vicarious
                                               6 infringement as alleged above, Grabba Leaf has suffered and will continue to suffer
                                               7 substantial damages to its business in an amount to be established at trial.
                                               8           62.      Due to Defendants’ and each of their acts of copyright infringement as
                                               9 alleged herein, Defendants, and each of them, have obtained direct and indirect
                                       10 profits they would not otherwise have realized but for their infringement of the
                                       11 Copyrighted Work on the Grabba Green and Grabba Brown product packaging and
                                       12 artwork. As such, Grabba Leaf is entitled to disgorgement of Defendants’ profits
                                       13 directly and indirectly attributable to Defendants’ infringement, in an amount to be
                                       14 established at trial.
                                       15                  63.      Plaintiff is informed and believes and thereon alleges that Defendants,
                                       16 and each of them, have committed acts of copyright infringement, as alleged above,
                                       17 which were willful, intentional and malicious, which further subjects Defendants,
                                       18 and each of them, to further damages.
                                       19                            SIXTH CAUSE OF ACTION4 CAUSE OF ACTION
                                       20              (VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE
                                       21                                       § 17200 AGAINST ALL DEFENDANTS)
                                       22                  64.      Grabba Leaf hereby incorporates by reference and realleges each and
                                       23 every allegation of Paragraph Nos. 1-25, 27-31, 36-37, 44-50, 52-57, and 43-49 59-
                                       24 63 above.
                                       25                  65.      The Western Defendants’ acts as described above constitute unlawful
                                       26 and unfair business practices that have injured Grabba Leaf in its business and
                                       27 property in violation of California Business & Professions Code §§ 17200, et seq.
                                       28
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                                               1           66.      The Western Defendants’ wrongful acts were and are likely to cause
                                               2 confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
                                               3 association of the counterfeit Grabba Leaf products sold by the Western Defendants
                                               4 with Grabba Leaf, or as to the origin, sponsorship or approval of the Western
                                               5 Defendants’ infringing and counterfeit products by Grabba Leaf.
                                               6           67.      Grabba Leaf has suffered injury in fact and has lost money or property
                                               7 as a result of the Western Defendants’ acts of unfair competition.
                                               8           68.      Grabba Leaf has no adequate remedy at law and as such is entitled to an
                                               9 injunction restraining the Western Defendants and their agents, employees, officers,
                                       10 alter egos, and all persons acting in concert with them, from engaging in any further
                                       11 such unfair business practices in violation of Cal. Bus. & Prof. Code §17200.
                                       12                  69.      As a direct and proximate result of the Western Defendants’ conduct,
                                       13 Grabba Leaf is entitled to all remedies set forth in Cal. Business Bus. & Prof. Code
                                       14 § 17203, as applicable, including but not limited to restitution of money or property
                                       15 and disgorgement of any profits gained by the Western Defendants as a result of its
                                       16 acts of unfair competition.
                                       17                                           PRAYER FOR RELIEF
                                       18                  WHEREFORE, Grabba Leaf respectfully prays for:
                                       19                  A.       Judgment that each Defendant has: (i) willfully engaged in trademark
                                       20 counterfeiting in violation of 15 U.S.C. § 1114; (ii) willfully infringed the
                                       21 GRABBA Marks in violation of 15 U.S.C. § 1114; (iii) willfully engaged in direct
                                       22 copyright infringement in violation of 17 U.S.C. §§ 101, et seq.; (iv) willfully
                                       23 engaged in indirect copyright infringement in violation of 17 U.S.C. §§ 101, et seq.;
                                       24 (v) willfully used false designations of origin and/or engaged in unfair competition
                                       25 in violation of 15 U.S.C. § 1125(a); and (ivvi) willfully violated Grabba Leaf’s
                                       26 common law rights in the GRABBA Marks.
                                       27                  B.       A temporary, preliminary, and permanent injunction against further
                                       28 counterfeiting, infringement, false designation of origin, and unfair competition
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                                               1 directed against the GRABBA Marks, by each Defendant, its officers, agents,
                                               2 servants employees, attorneys, and all others in active concert or participation with
                                               3 any of them;
                                               4           C.       An order, pursuant to 15 U.S.C. § 1116(d) and the Court’s inherent
                                               5 authority, directing the seizure of all evidence of each Defendant’s unlawful
                                               6 conduct;
                                               7           D.       A finding that this is an exceptional case within the meaning of
                                               8 15 § U.S.C. 1117(a);
                                               9           E.       An award of damages adequate to compensate Grabba Leaf for the
                                       10 trademark infringements that have occurred pursuant to 15 U.S.C. § 1117(a), which
                                       11 amount shall include each Defendant’s profits, Grabba Leaf’s damages, and the
                                       12 costs of the action.
                                       13                  F.       At Grabba Leaf’s election, either: (1) an award of damages adequate to
                                       14 compensate Grabba Leaf for the intentional acts of trademark counterfeiting that
                                       15 have occurred, pursuant to 15 U.S.C. § 1117(b), which amount shall include three
                                       16 times each Defendant’s profits or Grabba Leaf’s damages (whichever is greater),
                                       17 together with reasonable attorneys’ fees; or (2) statutory damages in the amount of:
                                       18 (i) not less than $1,000 or more than $200,000 per counterfeit mark per type of
                                       19 goods or service sold, offered for sale, or distributed, as the Court considers just; or
                                       20 (ii) if the Court finds that the use of the counterfeit mark was willful, not more than
                                       21 $2,000,000 per counterfeit mark per type of goods or services sold, offered for sale,
                                       22 or distributed, as the Court considers just.
                                       23                  G.                   That Plaintiff be awarded all profits of Defendants plus all
                                       24 losses of Plaintiff, plus any other monetary advantage gained by the Defendants
                                       25 through their infringement, the exact sum to be proven at the time of trial, or, if
                                       26 elected before final judgment, statutory damages as available under the Copyright
                                       27 Act, 17 U.S.C. §§ 101, et seq.
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                                               1           H.                   G.An award of restitution of money or property and the
                                               2 disgorgement of any profits acquired by each Defendant as a result of their unfair
                                               3 competition;
                                               4           I.                   H.For increased and punitive damages as allowed by law,
                                               5 including but not limited to those increased damages authorized by 15 U.S.C. §
                                               6 1117;
                                               7 An award of all attorneys’ fees pursuant to the Copyright Act, 17 U.S.C. §§ 101, et
                                               8 seq.
                                               9           J.                   I.An assessment of costs, including reasonable attorneys’ fees
                                       10 and expenses, as well as prejudgment interest at the highest legal rate allowable
                                       11 under law; and,
                                       12 / / /
                                       13 / / /
                                       14 / / /
                                       15 / / /
                                       16 / / /
                                       17                  K.                   J. Such other and further relief as this Court deems just and
                                       18 proper.
                                       19
                                       20 Dated: August 17March 28, 2021                           BUCHALTER A Professional Corporation
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                                                                                                                     DRAFT
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                                               1                                DEMAND FOR JURY TRIAL
                                               2           Plaintiffs hereby demand a trial by jury on all issues for which a trial by jury
                                               3 may be had, as provided by Rule 38(a) of the Federal Rules of Civil Procedure.
                                               4
                                               5 Dated: August 17March 28, 2021             BUCHALTER A Professional Corporation
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   Insertions                   38                        Name                                 Standard
   Deletions                    4                         Insertions
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   Character Style Changes      0                         Character Style Changes
   TOTAL CHANGES                71                        Inserted cells
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   Show Track Changes Toolbar                                     Word                        True
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